 Case 1:25-cv-01405-UNA          Document 10-3         Filed 05/09/25   Page 1 of 2

                          Angelica S. et al. v. Kennedy et al.
                              Case No. 1:25-cv-01405

          Exhibit Index to Plaintiffs’ Motion for a Preliminary Injunction


Exhibit                                 Exhibit Description
  1          Declaration of Diane de Gramont, May 9, 2025

  1-A        Form FRP-3, Family Reunification Application

  1-B        Form FRP-2, Authorization for Release of Information

  1-C        Proposed Form SAP-3, Family Reunification Application, Information
             Collection
  1-D        Proposed Form SA-2, Authorization for Release of Information

  1-E        ORR Policy Guide Sec. 2.2.4 (last revised 8/1/24)

  1-F        ORR Policy Guide Sec. 2.2.4 (last revised 3/7/25)

  1-G        ORR Policy Guide Sec. 2.2.4 (last revised (4/15/25)

  1-H        ORR Average Monthly Data, current as of April 7, 2025

   2         Declaration of Mari Dorn-Lopez, May 4, 2025

   3         Declaration of Jenifer Smyers, May 6, 2025

   4         Declaration of Cynthia Felix, May 6, 2025

   5         Declaration of J.E.D.M., April 16, 2025



                           Previously Filed Declarations

ECF No.                                          Name

 09-07       Declaration of Angelica S., April 16, 2025

 09-08       Declaration of Eduardo M., April 16, 2025

 09-09       Declaration of Liam W., May 6, 2025

 09-10       Declaration of Leo B., May 8, 2025

 09-11       Declaration of Xavier L., May 6, 2025
Case 1:25-cv-01405-UNA      Document 10-3         Filed 05/09/25   Page 2 of 2




09-12    Declaration of Deisy S., May 7, 2025

09-13    Declaration of Rosa M., April 29, 2025

09-14    Declaration of Sofia W., May 7, 2025

09-15    Declaration of Ximena L., May 7, 2025




                                     2
